       Case 1:22-cr-00354-RCL Document 90 Filed 11/11/23 Page 1 of 4




                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA



                                            Criminal No.: 1: 22-cr-00354-RCL-
                                            1 and 2
   UNITED STATES OF AMERICA,
                    -v-
     RICHARD SLAUGHTER, and
         CADEN GOTTFRIED,
                          Defendants.




             MOTION FOR ADMISSION PRO HAC VICE OF ROGER
             ROOTS


      Pursuant to Local Civil Rule 44.1(c)(2), John M. Pierce, a member of the bar

of this Court and counsel for Defendant, hereby moves for the admission pro hac

vice of Roger Roots in the above-captioned case. In support of this motion, the

undersigned states as follows:

      1. I am a member in good standing of the Bar of this Court.
 Case 1:22-cr-00354-RCL Document 90 Filed 11/11/23 Page 2 of 4




2. Roger Roots is an attorney licensed in Rhode Island, with an office located

   at 10 Dorrance Street Suite 700 #649, Providence, RI 02903. Mr. Roots

   resides in Livingston, Montana where he practices remotely.

3. As set forth in the attached declaration, Mr. Roots is an active member in

   good standing of the state bar of Rhode Island (SBN 6752).

4. Mr. Roots has also been admitted to the U.S. District of Nebraska and the

   U.S. 1st, 8th, 9th, and 10th Circuits.

5. I am attaching a June 19, 2023, letter regarding Mr. Roots bar status from

   the Rhode Island Supreme Court disciplinary counsel. The letter states

   that Mr. Roots has no history of discipline, no current complaints and no

   charges pending.

6. During the past year, while Mr. Roots has been waiting for his general

   admission to the DC federal bar he has also applied PHV and been

   admitted as co-counsel for nine separate defendants: Dominic Pezzola,

   Lloyd Cruz, Christopher Alberts, Kirsten Niemela, Lesperance et al., and

   Kenneth Joseph Thomas, Nancy Barron, Ryan Zink, and Derek Gunby.

   Mr. Roots has also applied for pro hac vice status in three additional cases:

   Jesse Rumson, John George Todd III, and this case.

7. Mr. Roots does wish to be admitted generally, and his admission is

   pending and not yet ruled on, thus requiring this application for PHV.
      Case 1:22-cr-00354-RCL Document 90 Filed 11/11/23 Page 3 of 4




     WHEREFORE, movant respectfully requests that the Court enter an order

     permitting Roger Roots to appear pro hac vice in the above-captioned case.


Dated: November 11, 2023        /s/ John M. Pierce
                                John M. Pierce
                                JOHN PIERCE LAW P.C.
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                                3rd Floor, PMB 172
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                                     Attorney for Defendant
       Case 1:22-cr-00354-RCL Document 90 Filed 11/11/23 Page 4 of 4




                       CERTIFICATE OF SERVICE


      I hereby certify that, on November 11, 2023, this motion and declaration was

filed via the Court’s electronic filing system, which constitutes service upon all

counsel of record.

                                    /s/ John M. Pierce
                                    John M. Pierce
